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                                              March 31, 2023

Honorable David G. Estudillo                                                          VIA ECF
United States District Judge
United States Courthouse
1717 Pacific Avenue, Suite 4410
Tacoma, WA 98402

Re:     Wysocki v. ZoomInfo Technologies, Inc. et al., No. 22-cv-5453 (DGE): Joint
        Discovery Dispute Letter

Dear Judge Estudillo:

        Plaintiffs Jennifer Wysocki, Andrew Sidhu, Betsy Kellogg and Keisha Flemister
(“Plaintiffs”) and Defendants ZoomInfo Technologies, LLC, ZoomInfo Technologies, Inc.,
ZoomInfo Holdings LLC and ZoomInfo Intermediate Inc. (“Holding Companies,” and together
with ZoomInfo Technologies LLC, “Defendants,” and together with Plaintiffs, “Parties”) hereby
submit this joint discovery dispute letter, in accordance with Your Honor’s directions to the Parties
during the March 3, 2023 Status Conference.

        On December 2, 2022, this Court issued a limited discovery order (the “Discovery Order”),
providing for discovery directed to “(1) which Defendant participated, and how, in activity
Plaintiffs claim operates in contradiction to the Terms of Use and Privacy Policy as alleged in the
Second Amended Complaint and in contradiction to any Defendant’s website; and (2) what, if any,
role each named Defendant had in the acts alleged.” The purpose being to ascertain, as Plaintiffs
requested during the November 23, 2022 conference, “who is the entity responsible for the
wrongdoing.”

       On January 9, 2023, as to each of the four Defendants, Plaintiffs made fifteen requests for
production of documents and issued twelve interrogatories. Beyond responding to those, the
Holding Companies voluntarily secured and provided Plaintiffs with affidavits, which are attached
as Exhibit A. The Parties engaged in a good faith meet and confer regarding various discovery
matters, including the below mentioned discovery requests. The Parties met and conferred via
telephone and email on at least three occasions, including on February 17, March 2 and March 20,
2023 in an effort to resolve their outstanding discovery issues. Despite these efforts, the Parties
have been unable to resolve the following disputes:




                                                  www.lowey.com
         44 South Broadway, Suite 1100, White Plains, NY 10601-4459 (p) 914-997-0500 (f) 914-997-0035
  One Tower Bridge, 100 Front Street, Suite 520, West Conshohocken, PA 19428 (p) 215-399-4770 (f) 610-862-9777
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1.    Disputed Document Category (RFP Nos. 1-4; Rog Nos. 1-3): Documents relating to
     organizational and corporate structure of each Defendant, including organizational charts
     and documents identifying directors, officers, business divisions and department heads of
     each Defendant. This also includes documents relating to business relationship between any
     director or officer and between any Defendant, including but not limited to indemnification,
     litigation funding and decision making in day-to-day affairs.

Plaintiffs’ Position:
    This information directly falls under the Discovery Order to identify “which Defendant
        participated and how.” Additionally, the five-sentence declarations submitted by the
        Holding Companies (see Exhibit A) provide no information about whether or to what
        extent the Holding Companies are aware of, involved in, control, or are liable for any
        actions taken by ZoomInfo Technologies LLC. During the March 3, 2023 status hearing,
        Plaintiffs clearly articulated that these were precisely the types of documents they were
        seeking in order to ascertain the Holding Companies’ involvement in the acts alleged in
        the Complaint. See March 3, 2023 Status Hearing Transcript (“Even if ZoomInfo Tech
        LLC is the operating company, these other entities may be controlling or influencing its
        actions, or are responsible for the liabilities of their predecessors that may have been
        taking these actions in the past.”). Plaintiffs are not asking the Holding Companies to
        “prove a negative,” but rather, to make representations that fully answers the narrow
        question of their involvement and interaction with ZoomInfo Technologies LLC during
        the Class Period. For example, while the Declaration of Anthony Stark on behalf of Zoom
        Holdings LLC makes the representation that the company “never had any operations or
        employees and has always acted as a holding company,” the declaration made on behalf
        of ZoomInfo Intermediate Inc. makes no such representation.
    As to ZoomInfo Technologies LLC, the provision of organizational charts showing the
        business relationship between its divisions is an extremely noncontroversial request that
        defendant corporations readily comply with. Organizational structure of ZoomInfo
        Technologies LLC goes directly to its various business divisions’ and their heads’
        involvement in the acts alleged. For example, an organizational chart showing a “Human
        Data Review Team” has evidentiary value in and of itself in that it tends to indicate the
        nature of activities that are performed by the company as part of its operations, which
        are also consistent with the allegations in the Complaint.
Holding Companies’ Position:
    The Holding Companies do not operate Community Edition. Because they cannot
      demonstrate their non-involvement (i.e., prove a negative) through document
      productions, they prepared affidavits. Those affidavits attest that they have no
      employees, no operations, and have never operated Community Edition, Contact
      Contributor or RevOS. That resolves the question upon which discovery was predicated:
      which entity operates Community Edition. After producing the affidavits, Plaintiffs
      shifted focus to a control theory. That theory defies black letter law (which presumes
      corporate separateness) and is far afield from determining which entity “participated” in
      the acts – i.e., operations of Community Edition. Nonetheless, to address that theory,
      the Holding Companies asked Plaintiffs during recent meet and confer sessions to
      provide a list of additional information they need that the Holding Companies could


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       address via supplemental affidavits. Plaintiffs declined the invitation. Though
       Defendants believe the affidavits resolve the issue as to all entities (making clear the
       focus of the case should be on ZoomInfo Technologies LLC), in the spirit of
       compromise, Defendants, including ZoomInfo Technologies LLC, have provided
       additional information through written discovery responses.
      That the Holding Companies have no employees means they have no organizational
       charts or internal reporting structures, and no operations means no participation in any
       of the alleged activities occurred.
ZoomInfo Technologies LLC’s Position:
    The identity of the ZoomInfo Technologies LLC’s officers and directors and
      organizational charts do not help “identify which Defendant participated and how.”
      ZoomInfo Technologies LLC nevertheless provided the names of its officers and
      directors. It has also provided the number, titles, and geographic locations of Data
      Research organization members whose duties include manual verification of business
      profile information, which includes information collected by Contact Contributor.
2.    Disputed Document Category (RFP Nos. 5-7; Rog No. 4): Documents relating to each
     Defendants’ participation in the processes relating to the Community Edition or Contact
     Contributor, Defendants’ platform and its services, and any other tasks relating to the acts
     alleged in the Complaint.

Plaintiffs’ Position:
     This category of documents seeks to identify which Defendant was engaged in the acts
        alleged in the Complaint. As such, it falls squarely within the Court’s Discovery Order.
     To this day, the Holding Companies have not made an unqualified representation that
        they do not — and have not during the Class Period — participated in any of the acts
        alleged in the Complaint, nor that they control, or are liable for any actions taken by
        ZoomInfo Technologies LLC.
     As to ZoomInfo Technologies LLC, to date, it has produced a grand total of 28
        documents, many of which are its regulatory public filings. This is despite that this Court
        has clearly instructed ZoomInfo Technologies LLC during the March 3, 2023 hearing to
        produce documents that it agreed to produce by March 10, 2023. See Status Hearing
        Transcript at 11:21-12:4. ZoomInfo Technologies LLC produced no substantive
        documents showing its involvement in the acts alleged in the Complaint.
Holding Companies’ Position:
    Each Holding Company, in response to RFPs 5-7, has represented that it “does not have
      any responsive documents to this Request because it does not itself participate [in the
      acts alleged] and [it] does not have any role in the acts alleged.” And as stated in their
      affidavits, they have no operations or employees and do not operate Community Edition.
      To the extent Plaintiffs now complain that the representations are not sufficiently clear
      or “unqualified,” again, Defendants invited Plaintiffs during the meet and confer to
      provide a list of additional information they need that the Holding Companies could
      address via affidavit. No additional discovery is needed to “identify which Defendant”
      operates Community Edition or Contact Contributor.



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ZoomInfo Technologies LLC’s Position:
    Contrary to Plaintiffs’ contention, ZoomInfo Technologies LLC has readily identified
      its involvement with Community Edition. It has responded to interrogatories by
      identifying the following on behalf of ZoomInfo Technologies LLC: its employees with
      knowledge of the acts alleged in the complaint, third parties with whom it shares
      information collected by Contact Contributor, third parties that own the servers
      ZoomInfo Technologies LLC uses, the information that Community Edition extracts,
      those individuals who service Community Edition, and that ZoomInfo Technologies
      LLC itself fields any complaints regarding Community Edition.                  ZoomInfo
      Technologies LLC has also produced numerous documents reflecting its involvement
      with Community Edition, including policies, terms of services, and a roster of
      individuals who review or verify business profile information, which includes
      information that has been collected via Contact Contributor.
    Plaintiffs mischaracterize the March 3, 2023 status conference and Order; it does not
      order production of documents by March 10, 2023. See Dkt. No. 51; see also Tr. 12:5-
      17:2. However, ZoomInfo Technologies LLC has already agreed to produce and has
      begun producing documents sufficient to demonstrate that it operates Community
      Edition and Contact Contributor, notwithstanding that Defendants have already provided
      written discovery responses that make clear that ZoomInfo Technologies LLC alone
      operates Community Edition and Contact Contributor. They have also conveyed as
      much during meet and confers, and to the extent there is still any outstanding confusion,
      the Defendants so state now.
3.    Disputed Document Category (RFP Nos. 9, 11-13; Rog Nos. 5-6, 8-12): Documents
     relating to Defendants’ relationship with both, third parties with whom Defendants share
     information about users as well as Defendants’ own employees and agents who Defendants
     engage for the purposes of reviewing, classifying, indexing, and otherwise processing users’
     data, including internal policies, training materials, procedures, protocols relating thereto.

Plaintiffs’ Position:
     This category of documents seeks to identify which Defendant contracts with the human
        reviewers that Plaintiffs allege unlawfully review class members’ emails, which
        Defendant prepared any training materials and is tasked with training the human
        reviewers, and which Defendant sets any internal processes and protocols that may exist
        relating to human reviewers’ review of electronic communications.
     Despite that these questions directly fall under the scope of the Discovery Order as it
        answers “which Defendant participated, and how” and also as to the “role each named
        Defendant had in the acts alleged,” ZoomInfo Technologies LLC produced no
        documents whatsoever responsive to these requests.
Holding Companies’ Position:
     The Holding Companies have no documents to produce concerning disclosure of user
        information to third parties or contracts with employees because they have no operations
        or employees and do not operate Community Edition or RevOS.

ZoomInfo Technologies LLC’s Position:



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        No additional discovery is needed to “identify which Defendant” operates Community
         Edition, RevOS, or employs individuals. Nonetheless, ZoomInfo Technologies LLC has
         identified the categories of third parties with whom it shares business profile information
         and the individuals with knowledge of the business relationships. It also produced a list
         that identifies the number, title, and location of the Data Research organization members,
         that review and verify information in ZoomInfo’s RevOS database. In light of this
         information, and given that the Holding Companies do not have any employees or
         operations, the actual contracts are not necessary to determine “which Defendant”
         contracts with, prepares, or trains the “human reviewers.”

4.    Disputed Document Category (RFP No. 10; Rog No. 7): Documents relating to number
     of servers and facilities, including their locations and which Defendant has control, access
     and authorization to these servers and facilities.

Plaintiffs’ Position:
     Plaintiffs seek the identity of Defendants who have control, access and authorization to
        access the servers and facilities that store or transmit the data collected Plaintiffs allege
        were intercepted by Defendants. These requests are directly relevant to a number of
        Plaintiffs’ privacy claims, which turn on access, control, and authority over servers and
        facilities that stored information or through which information was transmitted. As such,
        this category of documents falls under the scope of the Discovery Order as it answers
        “which Defendant participated, and how” and also the “role each named Defendant had
        in the acts alleged.”
     ZoomInfo Technologies LLC’s response that it “does not own its own servers” does not
        fully answer the question of its authority to access, control, and/or use any servers. Nor
        does that answer what facilities, if any, does ZoomInfo Technologies LLC operated and
        control that serve to storage and transmit communication that Plaintiffs allege was
        intercepted.
Holding Companies’ Position:
     The SAC ¶ 115 defines “facilit[ies]” as “[t]he servers used by ZoomInfo to process the
        emails to Community Edition subscribers.” The Holding Companies have no operations
        or employees and do not operate Community Edition or RevOS. The Holding
        Companies have attested to these facts in their affidavits. It follows they do not use
        servers connected to Community Edition.

ZoomInfo Technologies LLC’s Position:
    Plaintiffs’ requests are for documents sufficient to show the number of servers
      “maintained” by each Defendant; there is no pending request for documents regarding
      location or other information.
    ZoomInfo Technologies LLC has already responded to this inquiry and thus
      acknowledged it does use servers in connection with allegations in the complaint but
      explained it does not own its own servers. It utilizes cloud servers owned and maintained
      by GCP and AWS, as it also previously disclosed in its ESI Disclosures. The SAC ¶ 115
      defines “facilit[ies] as “[t]he servers used by ZoomInfo…” so to the extent Plaintiffs




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       contend “facilities” in their Requests mean something other than servers, Plaintiffs did
       not explain this during the meet and confer.
5. Disputed Document Category (RFP Nos. 14-15): Documents relating to claims,
   grievances or complaints made by any individual or business relating to Defendants’ data
   collection practices as well as any federal, state, local or municipal body’s investigation into
   any Defendant’s data practices.

Plaintiffs’ Position:
     Plaintiffs seek these documents in order to identify which, if any, of the Defendants, was
        aware of any potential concerns relating to the alleged conduct relating to data collection
        Since knowledge and intentionality are both elements of Plaintiffs’ legal claims,
        Plaintiffs’ inquiry into the identity of the party in possession of such information is
        directly responsive to “which Defendant participated and how” in the acts alleged in the
        Complaint.
     That Holding Companies currently “have no operations, no employees, and do not
        operate Community Edition or RevOS” does in no way answer whether the Holding
        Companies were aware of, communicated to ZoomInfo Technologies LLC, or
        participated in the resolution or investigation of any such grievances.
     As to ZoomInfo Technologies LLC, its response that it is the entity that participated in
        responding to any such complaints does not satisfy the question of “how” that entity
        participated, nor does provide a fulsome answer to Plaintiffs’ request for documents that
        evidence that fact. The unilateral limitation ZoomInfo Technologies LLC places on
        responding to this and other request for information is not what ZoomInfo Technologies
        LLC requested, nor what the Court ordered the Parties to do.
Holding Companies’ Position:
     The Holding Companies have no operations, no employees, and do not operate
        Community Edition or RevOS. It necessarily follows the Holdings Companies have no
        employees who could respond to any claims, grievances, complaints, or investigations.

ZoomInfo Technologies LLC’s Position:
    Though inferentially clear that ZoomInfo Technologies LLC would be the only entity to
      field complaints or inquiries, for the avoidance of doubt, ZoomInfo Technologies LLC
      has responded that it is the entity that is responsible for responding to any claims,
      grievances, complaints, or investigations regarding Community Edition or RevOS. The
      requests for all documents concerning such claims, grievances, complaints, or
      investigations, do not go to identifying “which Defendant” (under the Discovery Order)
      but is reserved for merits discovery.
    Plaintiffs’ justification is emblematic of the problem here. Despite being directly told
      which entity processes complaints or inquiries (answering the question that prompted
      the limited Discovery Order), they still seek documents. Their demands extend beyond
      the scope of the Discovery Order and attempt to use this process to acquire merits
      discovery (and even then such requests would be more narrowly tailored to the
      allegations in the complaint).




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BRESKIN JOHNSON & TOWNSEND, ORRICK, HERRINGTON & SUTCLIFFE LLP
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rgupta@lowey.com

Attorneys for Plaintiffs




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             EXHIBIT A
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1                                                                  The Honorable David G. Estudillo
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8
                                  UNITED STATES DISTRICT COURT
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                                 WESTERN DISTRICT OF WASHINGTON
10
                                              AT TACOMA
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     JENNIFER WYSOCKI, ANDREW SIDHU,
12   BETSY KELLOGG, and KEISHA
     FLEMISTER, Individually and on Behalf of
13   All Others Similarly Situated,                      Case No. 3:22-cv-05453-DGE

14                 Plaintiffs,                           DECLARATION OF ANTHONY
                                                         STARK
15   v.

16   ZOOMINFO TECHNOLOGIES INC.,
     ZOOMINFO TECHNOLOGIES LLC,
17   ZOOMINFO HOLDINGS LLC, and
     ZOOMINFO INTERMEDIATE INC.,
18
                   Defendants.
19

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21          I, Anthony Stark, hereby declare:

22          1.      I am the Secretary of ZoomInfo Holdings LLC, one of the defendants in the

23   above-captioned action. In this position, which I have held since August 25, 2017, I have

24   knowledge of ZoomInfo Holdings LLC’s organization and operations and have access to

25   ZoomInfo Holdings LLC’s business records. I have personal knowledge of the facts stated

26   herein and, if called as a witness, would competently testify thereto.

27          2.      I have reviewed the complaint in the above-styled action and am familiar with

28   the allegations concerning Community Edition (whose software application is Contact
     DECLARATION OF ANTHONY STARK                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                                         401 Union Street, Suite 3300
     Case No.: 3:22-cv-05453-DGE                                         Seattle, Washington 98101
                                                                              +1 206 839 4300
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1    Contributor).
2            3.      ZoomInfo Holdings LLC is a holding company with no material assets apart from
3    its ownership interest its subsidiaries; it has no operations and no employees. It has never had
4    any operations or employees and has always acted as a holding company. ZoomInfo Holdings
5    LLC does not and has never operated Community Edition. ZoomInfo Holdings LLC does not
6    and has never operated Contact Contributor or ZoomInfo RevOS. ZoomInfo Holdings LLC does
7    not and has never employed human research analysts or data scientists.
8            I declare under penalty of perjury under the laws of the United States that the foregoing
9    is true and correct.
10

11           Executed on February 24, 2023, Vancouver, Washington.
12

13
                                                    By:
14                                                        Anthony Stark
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                                                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
     DECLARATION OF ANTHONY STARK                                         401 Union Street, Suite 3300
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1                                                                   The Honorable David G. Estudillo
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                                  UNITED STATES DISTRICT COURT
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                                 WESTERN DISTRICT OF WASHINGTON
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                                              AT TACOMA
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     JENNIFER WYSOCKI, ANDREW SIDHU,
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14                 Plaintiffs,                           DECLARATION OF ANTHONY
                                                         STARK
15   v.

16   ZOOMINFO TECHNOLOGIES INC.,
     ZOOMINFO TECHNOLOGIES LLC,
17   ZOOMINFO HOLDINGS LLC, and
     ZOOMINFO INTERMEDIATE INC.,
18
                   Defendants.
19

20

21          I, Anthony Stark, hereby declare:

22          1.      I am the Vice President and Secretary of ZoomInfo Intermediate Inc., one of the

23   defendants in the above-captioned action. In this position, which I have held since October 12,

24   2021. I have knowledge of ZoomInfo Intermediate Inc.’s organization and operations and have

25   access to ZoomInfo Intermediate Inc.’s business records. I have personal knowledge of the

26   facts stated herein and, if called as a witness, would competently testify thereto.

27          2.      I have reviewed the complaint in the above-styled action and am familiar with

28   the allegations concerning Community Edition (whose software application is Contact
     DECLARATION OF ANTHONY STARK                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                                          401 Union Street, Suite 3300
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                                                                               +1 206 839 4300
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1    Contributor).
2           3.       ZoomInfo Intermediate Inc. is a holding company with no material assets apart
3    from equity interests in its subsidiaries, no operations, and no employees. ZoomInfo
4    Intermediate Inc. does not and has never operated Community Edition, Contact Contributor or
5    ZoomInfo RevOS. ZoomInfo Intermediate Inc. does not and has never employed human
6    research analysts or data scientists. I declare under penalty of perjury under the laws of the
7    United States that the foregoing is true and correct.
8

9           Executed on February 24, 2023, Vancouver, Washington.
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                                                     By:
12                                                         Anthony Stark
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           Case 3:22-cv-05453-DGE Document 68 Filed 03/31/23 Page 13 of 14



1                                                               The Honorable David G. Estudillo
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                                 UNITED STATES DISTRICT COURT
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                                WESTERN DISTRICT OF WASHINGTON
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13   All Others Similarly Situated,                    Case No. 3:22-cv-05453-DGE

14                Plaintiffs,                          DECLARATION OF ANTHONY
                                                       STARK
15   v.

16   ZOOMINFO TECHNOLOGIES INC.,
     ZOOMINFO TECHNOLOGIES LLC,
17   ZOOMINFO HOLDINGS LLC, and
     ZOOMINFO INTERMEDIATE INC.,
18
                  Defendants.
19

20

21          I, Anthony Stark, hereby declare:

22          1.     I am the General Counsel and Corporate Secretary for ZoomInfo Technologies

23   Inc., one of the defendants in the above-captioned action. In this position, which I have held

24   since May 26, 2020, I have knowledge of ZoomInfo Technologies Inc.’s organization and

25   operations and have access to ZoomInfo Technologies Inc.’s business records. I have personal

26   knowledge of the facts stated herein and, if called as a witness, would competently testify

27   thereto.

28          2.     I have reviewed the complaint in the above-styled action and am familiar with
     DECLARATION OF ANTHONY STARK                               ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                                      401 Union Street, Suite 3300
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                                                                           +1 206 839 4300
           Case 3:22-cv-05453-DGE Document 68 Filed 03/31/23 Page 14 of 14



1    the allegations concerning Community Edition (whose software application is Contact
2    Contributor).
3            3.      ZoomInfo Technologies Inc. is a holding company with no material assets apart
4    from its equity interest in its subsidiaries; it has no operations and no employees. ZoomInfo
5    Technologies Inc. does not and has never operated Community Edition, Contact Contributor, or
6    ZoomInfo RevOs. ZoomInfo Technologies Inc. does not and has never employed human
7    research analysts or data scientists.
8            I declare under penalty of perjury under the laws of the United States that the foregoing
9    is true and correct.
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                                                    By:
14                                                        Anthony Stark
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                                                                                +1 206 839 4300
